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                   United States District Court
                    District Of Puerto Rico
   TROPICAL SOLAR FARM, LLC;              Civil Action No.:   12-Civ-2010
TROPICAL SOLAR FARM HOLDING,
 LLC; JONAS SOLAR ENERGY, LLC;
  and ROBERTO TORRES TORRES,                NOTICE OF REMOVAL

               Plaintiff,

               - against -

CIRO GROUP, CORP.; CIRO ENERGY,
  CORP.; CIRO ONE SALINAS, LLC;
  CIRO Two POWER FACILITY, LLC;
CIRO THREE POWER FACILITY, LLC;
   CIRO ENERGY PARTNERS, LLC;
     ROSENDIN ELECTRIC, INC.;
 ENOVATE ADVISORS, LLC.; RUBEN
PEREZ RIOS, FRANCES M. CINTRON
   CRUZ, and the conjugal partnership
composed by them; MARIO TOMASINI
   ACEVEDO; GUSTAVO CORUJO
   RAMSEY, SRA. CORUJO, and the
 conjugal partnership composed by them;
   JUAN VALENTÍN RAMOS, SRA.
 VALENTÍN RAMOS, and the conjugal
 partnership composed by them; JOEL A.
  VALENTÍN RÍOS, SRA. VALENTÍN
   RÍOS, and the conjugal partnership
      composed by them; DUNCAN
 FREDERICK, SRA. FREDERICK, and
  the conjugal partnership composed by
them; FULANO DE TAL; SUTANO DE
      TAL, ASEGURADORA ABC;
         ASEGURADORA DEF;
         ASEGURADORA GHI;
        ASEGURADORA JKL; Y
         ASEGURADORA XYZ;

             Defendants.
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TO THE HONORABLE COURT:

        Pursuant to 28 U.S.C. §§1331, 1441 and 1446, COMES NOW, CIRO Group,

Corp.; CIRO Energy, Corp.; CIRO One Salinas, LLC; CIRO Two Power Facility, LLC;

CIRO Three Power Facility, LLC; CIRO Energy Partners, LLC; Rosendin Electric, Inc.;

Enovate Advisors, LLC.; Ruben Perez Rios, Frances M. Cintron Cruz, and the conjugal

partnership composed by them; Mario Tomasini Acevedo; Gustavo Corujo Ramsey, Sra.

Corujo, and the conjugal partnership composed by them; Juan Valentín Ramos, Sra.

Valentín Ramos, and the conjugal partnership composed by them; Joel A. Valentín Ríos,

Sra. Valentín Ríos, and the conjugal partnership composed by them; Duncan Frederick,

Sra. Frederick, and the conjugal partnership composed by them (hereinafter referred to as

“Defendants”), by their attorneys Estrella, LLC | Attorneys & Counselors, who file their

Notice of Removal to this Court of an action pending against them in the Commonwealth

of Puerto Rico, Superior Court of Ponce. Removal is based on the following grounds:

        1. This action was commenced against Defendants in the Superior Court of

Ponce, Commonwealth of Puerto Rico, by the filing of a Summons and Complaint on

December 3, 2012. The Summonses and Complaint were served upon Defendants

personally at the lobby of the El San Juan Hotel in Carolina, Puerto Rico on December 3,

2012. A copy of the Summonses and the Complaint are attached hereto as an Exhibit.

        2. The Complaint seeks damages for RICO violation, bad faith, tortious

interference with contract and damages allegedly sustained by plaintiff, allegedly as a

result of a transaction that failed to close during nearly the last two years.

        3. This Court has original jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 in that it arises under federal law and the action is one that may be removed
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pursuant to 28 U.S.C. § 1441 without regard to the residence or citizenship of the parties.

Venue is likewise proper pursuant to 28 U.S.C. § 1391(b) since all facts and circumstances

leading to the lawsuit, as alleged in the complaint, transpired within the district of Puerto

Rico.

        4. This Notice of Removal is being filed within thirty days after receipt by

defendants of a copy of the Complaint and, therefore, is timely filed pursuant to 28

U.S.C. §1446(b).

              5. The action in the Superior Court of Ponce, Commonwealth of Puerto Rico

is, therefore, a civil action over which this Court has original jurisdiction pursuant to 28

U.S.C. §1331, and is one which may be removed to this Court pursuant to the provisions

of 28 U.S.C. §§1441 and 1446.

        6. Defendants simultaneously with the service and filing of this Notice of Removal

has given written notice of the filing of this Notice of Removal to plaintiff and filed a copy of

the Notice of Removal with the First Instance Court of Ponce, Commonwealth of Puerto

Rico, as required by 28 U.S.C. § 1446(d).

        7. All defendants that have been served in this case have expressly consented to the

removal of this action to the United States District Court for the District of Puerto Rico.

        WHEREFORE, Defendants respectfully request that this action be removed to

this Court.




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Dated: December 12, 2012, San Juan, Puerto Rico.


                              S/KENNETH C. SURIA
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                               S/PAUL J. HAMMER
                                   Paul J. Hammer
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                            CERTIFICATE OF SERVICE


       We hereby certify that on December 12, 2012, we served the Notice of Removal

upon counsel for the plaintiff at her business address as indicated above via United States

Postal Service Certified Mail - Return Receipt Requested, Regular Mail and via electronic

correspondence at pilar@munoznazario.com.


       At San Juan, Puerto Rico, this 12th day of December 2012.

                     ESTRELLA, LLC | ATTORNEYS & COUNSELORS
                               Attorneys for Defendants
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